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Case 2:20-cr-00017-RMP ECF No. 1

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FILED IN THE U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

FEB 1 { 2020

SEAN F. MCAVOY, CLERK
——___.,, DEPUTY
YAKIMA, WASHINGTON

 

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, 9-20-CR-17-RMP

Plaintiff, INDICTMENT
V. 21 U.S.C. § 841(a)(1), (b)(1)(E)(i)
Distribution of Controlled Substances

(testosterone cypionate)
(Counts | and 2)

CHRISTOPHER JAMES KISLING,

Defendant.
21 U.S.C. § 843(b) Use of Communication
Facility in Causing or Facilitating the
Commission of Felonies Under the
Controlled Substances Act

(Counts 3 and 4)

21 U.S.C. § 853
Forfeiture Allegations

 

The Grand Jury charges:
COUNT 1
On or about September 27, 2019, in the Eastern District of Washington, the
Defendant, CHRISTOPHER KISLING, did knowingly and intentionally distribute

a mixture or substance containing a detectable amount of testosterone cypionate, a

INDICTMENT ]

 
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Schedule ITI controlled substance, in violation of 21 U.S.C. § 841(a)(1),
ONE). - |
COUNT 2
On or about November 7, 2019, in the Eastern District of Washington, the
Defendant, CHRISTOPHER KISLING, did knowingly and intentionally distribute
a mixture or substance containing a detectable amount of testosterone cypionate, a |
Schedule III controlled substance, in violation of 21 U.S.C. § 841(a)(1),
OYE. |
COUNT 3
On or about September 27, 2019, in the Eastern District of Washington, the
Defendant, CHRISTOPHER KISLING, did knowingly and intentionally use any
communication facility, to wit: the United States Postal Service mail system, in
facilitating the commission of any act:or acts constituting a felony under 21 U.S.C.
§ 841(a)(1), that is, the offense set out in Count 1 of this indictment incorporated
by reference herein, in violation of 21 USC. § 843 (b).
COUNT 4
On or about November 7, 2019, in the Eastern District of Washington, the
Defendant, CHRISTOPHER KISLING, did knowingly and intentionally use any
communication facility, to wit: the United States Postal Service mail system, in

facilitating the commission of any act or acts constituting a felony under 21 U.S.C.

INDICTMENT 7)

 
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§ 841(a)(1), that is, the offense set out in Count 2 of this indictment incorporated

|by reference herein, in violation of 21 U.S.C. § 843 (b).

| NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures.

Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violation of
21 U.S.C. § 841(a)(1), as alleged in Counts 1 and 2 of this Indictment, the

Defendant, CHRISTOPHER KISLING, shall forfeit to the United States of

| America, any property constituting, or derived from, any proceeds obtained,

 

 

directly or indirectly, as the result of such offense(s) and any property used or

 

intended to be used, in any manner or part, to commit or to facilitate the

17 commission of the offense(s). '

If any forfeitable property, as a result of any act or omission of the
Defendant(s):

(a) cannot be located upon the exercise of due diligence;

‘(b) has been transferred or sold.to, or deposited with, a third party;
_(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided

without difficulty;

INDICTMENT | 3

 

 

 

 
 

 

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p).

DATED this 11th day of February, 2020.
William D. Hyslop
United States Attorney

Thomas J. Hanlon
Supemisory Assistant United States Attorney

  

Assistant United States Attorney

INDICTMENT 4

 
